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? UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA
I WESTERN DIVISION
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13 || SNOW JOE, LLC, Case No.: 2:20-cv-00587 RSWL (RAOx)
14 Plaintiff, [PROPOSED] PERMANENT
INJUNCTION AGAINST
15 v. DEFENDANTS, AND DISMISSAL OF

ENTIRE ACTION, WITH PREJUDICE
16 || LINEMART INC., et al.

17 Defendants. Judge: Hon. Ronald $.W. Lew
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23 The Court, pursuant to the Joint Stipulation for Entry of Permanent Injunction

24 |lapainst Defendants, and Dismissal of Entire Action, with prejudice (the “Joint

29 || Stipulation”), by and between Plaintiff Snow Joe, LLC (“Plaintiff”), and Defendants

26 Linemart, Inc., Linemart NJ, Inc., Shenzhen Sailvan Network Technology Ltd., and

27 \/Shenzhen Sailvan Ecommerce Co., Ltd. (collectively “Defendants”) filed

28 concurrently herewith, hereby ORDERS, ADJUDICATES and DECREES that a

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PROPOSED} PERMANENT INJUNCTION

 

 

 

 
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permanent injunction shall be and hereby is entered against Defendants in the above-
referenced matter as follows:

I. PERMANENT INJUNCTION. Defendants are hereby restrained
and enjoined, pursuant to 15 United States Code (“U.S.C.”) § 1116(a), from
engaging in, directly or indirectly, or authorizing or assisting any third-party to
engage in, any of the following activities in the United States:

i, using in commerce any false or misleading description of fact or
false or misleading representation of fact which mispresents the Pounds Per Square
Inch (“PSI”) achievable by Defendants HOMDOX-branded electric pressure
washers; and

ii. using in commerce any false or misleading description of fact or
false or misleading representation of fact which mispresents the adherence to
testing, inspection and certification requirements of the European Conformity
(“CE”) for electrical safety standards for HOMDOX-branded electric pressure
washers.

2. This Permanent Injunction shall be deemed to have been served upon
Defendants at the time of its execution by the Court.

3. The Court finds there is no just reason for delay in entering this
Permanent Injunction against Defendants, and, pursuant to Federal Rule of Civil
Procedure 54(a), the Court directs immediate entry of this Permanent Injunction
against Defendants.

4, NO APPEALS. No appeals shall be taken from this Permanent
Injunction against Defendants, and Plaintiff and Defendants waive all rights to
appeal.

5. CONTINUING JURISDICTION. This Court expressly retains
jurisdiction over this matter to enforce any violation of the terms of this Permanent
Injunction by Defendants, and/or any breach of the settlement agreement reached

between the Parties.

PROPOSED] PERMANENT INJUNCTION

 

 
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6. NOFEES AND COSTS. The Parties shall bear their own attorneys’
fees and costs incurred in this matter.
7. DISMISSAL. Upon entry of this Permanent Injunction against

Defendants, this case shall be dismissed in its entirety, with prejudice.

IT IS SO ORDERED this 17th day of | November __, 2021.

/s/ RONALD S.W. LEW

HON. RONALD S.W. LEW
United States District Judge

 

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+~PROPOSED} PERMANENT INJUNCTION

 

 
